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         ORDERED in the Southern District of Florida on June 22, 2023.



                                                            Peter D. Russin, Judge
                                                            United States Bankruptcy Court
_____________________________________________________________________________


                                 UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                    FORT LAUDERDALE DIVISION


         In re:
          WILSON FILS LAMY,                                 Case No.: 22-15722-PDR
                                                            Chapter 7
                  Debtor.
          ____________________________/

            ORDER TO SHOW CAUSE WHY DORCELINE LAMY SHOULD NOT BE HELD IN
              CONTEMPT FOR FAILURE TO COMPLY WITH ORDER OF THE COURT

                  THIS MATTER came before the Court on June 15, 2023, upon Chapter 7 Trustee,

         Kenneth A. Welt’s (“Trustee”) Motion for Order to Show Cause (the “Motion”) [D.E. 92], seeking

         an order to show cause why Dorceline Lamy should not be held in contempt for failure to comply

         with an order of the Court, and the Court, having considered the record and reviewed the Motion,

         having heard argument of counsel for the Trustee, and for the reasons stated on the record, does

         hereby

                  ORDER as follows:

                  1.    The Trustee’s Motion is GRANTED.
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       2.     Dorceline Lamy is directed to attend a hearing before the Court on July 20, 2023,

at 10:30 a.m. (the “Show Cause Hearing”), to show cause why she should not be held in contempt

for failure to comply with the Court’s Order Granting Trustee’s Motion to Compel Production of

Documents From Dorceline Baptiste Lamy [D.E. 72].

       3.     The Show Cause Hearing will be held before the Honorable Peter D. Russin, at the

U.S. Courthouse, 299 E. Broward Blvd., Courtroom 301 (PDR), Fort Lauderdale, FL.

       4.     The Debtor and Debtor’s counsel are each personally obligated to attend the Show

Cause Hearing in person.

       5.     The Court retains jurisdiction to enforce the terms of this Order.

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Submitted by:

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Attorney Dunn is directed to serve a conformed copy of this Order upon the Debtor and interested
parties, and to file proof of such service with the Court.




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